 1                                                              THE HONORABLE JOHN H. CHUN

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 7
       UNITED STATES DISTRICT COURT WESTERN DISTRICT OF WASHINGTON AT
 8                                 SEATTLE
 9

10   FIRST FED BANK, a Washington state                 No. 3:24-cv-05729-JHC
     commercial bank,
11                                 Plaintiff,           DECLARATION OF JOHN T. BENDER
                                                        IN SUPPORT OF MOTION TO
12          vs.                                         CONSOLIDATE AND STAY SIX
                                                        DECLARATORY JUDGMENT ACTIONS
13                                                      FILED BY FIRST FED
     BLC WATER COMPANY LLC, a Nevada
14   Limited Liability Company, Brian S. Chu, an        NOTING DATE: OCTOBER 1, 2024
     individual, and Larina H. Chu, an individual,
15                                                      3:24-cv-05729-JHC
                                   Defendants.          3:24-cv-05730-JNW
16                                                      3:24-cv-05731-DGE
                                                        3:24-cv-05732-BHS
17                                                      3:24-cv-05736-BHS
                                                        2:24-cv-01389-KKE
18

19           I, John T. Bender, declare and state as follows:

20           1.     I am an attorney for Defendants in this matter. I am of legal age and competent

21   to testify to the matters contained herein.

22           2.      Attached as Exhibit A is a true and correct copy of the Complaint for

23   Damages and Equitable Relief filed on September 6, 2024 by the First Fed Borrowers in BLC

24   Water Company, LLC et al. v. First Fed Bank et al., King County Superior Court Cause No.

25   24-2-20247-1 SEA.

                                                                                CORR CRONIN LLP
      DECLARATION OF JOHN T. BENDER – 1                                     1015 Second Avenue, Floor 10
                                                                           Seattle, Washington 98104-1001
                                                                                  Tel (206) 625-8600
                                                                                  Fax (206) 625-0900
 1
            3.      Litigation related to the alleged Ponzi scheme has been commenced in multiple
 2
     forums in Washington State, including, but not limited to, the following cases:
 3
                       Snohomish County Superior Court Cause No. 24-2-02887-31
 4                     Snohomish County Superior Court Cause No. 23-2-04152-31
                       Snohomish County Superior Court Cause No. 23-2-07449-31
 5                     Snohomish County Superior Court Cause No. 23-2-07941-31
                       Snohomish County Superior Court Cause No. 23-2-08829-31
 6                     Snohomish County Superior Court Cause No. 23-2-08864-31
                       Snohomish County Superior Court Cause No. 24-2-00583-31
 7                     Snohomish County Superior Court Cause No. 24-2-01283-31
                       Snohomish County Superior Court Cause No. 24-2-01362-31
 8                     Snohomish County Superior Court Cause No. 24-2-01438-31
                       Snohomish County Superior Court Cause No. 24-2-02346-31
 9                     Snohomish County Superior Court Cause No. 24-2-02684-31
                       Snohomish County Superior Court Cause No. 24-2-03489-31
10                     Snohomish County Superior Court Cause No. 24-2-02919-31
                       Snohomish County Superior Court Cause No. 24-2-03751-31
11                     Snohomish County Superior Court Cause No. 24-2-02549-31
                       Snohomish County Superior Court Cause No. 24-2-02497-31
12                     Snohomish County Superior Court Cause No. 24-2-05545-31
                       Snohomish County Superior Court Cause No. 24-2-04013-31
13                     King County Superior Court Cause No. 24-2-10753-3 SEA
                       King County Superior Court Cause No. 24-2-08418-5 SEA
14                     King County Superior Court Cause No. 24-2-06473-7 SEA
                       King County Superior Court Cause No. 24-2-08418-5 SEA
15                     King County Superior Court Cause No. 24-2-08434-7 SEA
                       King County Superior Court Cause No. 24-2-08467-3 SEA
16                     United States District Court Western District No. 2:24-cv-01164
                       United States District Court Western District No. 2:24-cv-01172
17
             4.     Attached as Exhibit B is a true and correct copy of the Complaint for Monies
18
     Due filed on March 25, 2024 by First Fed Bank in First Fed Bank. v. Deren Flesher, King
19
     County Superior Court Cause No. 24-2-06473-7 SEA.
20
            5.      Attached as Exhibit C is a true and correct copy of the Complaint for
21
     Damages and Injunctive Relief filed on April 16, 2024 in Pacific Water Technology, LLC et
22
     al.. v. Ryan R. Wear et al., Snohomish County Superior Court Cause No. 24-2-02887-31.
23
            6.      Attached as Exhibit D is a true and correct copy of the Order Granting
24
     Plaintiffs’ Motion for Temporary Restraining Order entered on April 26, 2024 in Pacific
25

                                                                                CORR CRONIN LLP
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                                                                                  Fax (206) 625-0900
 1
     Water Technology, LLC et al. v. Ryan R. Wear et al., Snohomish County Superior Court
 2
     Cause No. 24-2-02887-31.
 3
            7.      Attached as Exhibit E is a true and correct copy of the Petitioner’s Motion for
 4
     (1) Order to Show Cause Why a General Receiver Should Not be Appointed, and (2)
 5
     Appointment of General Receiver, filed on April 17, 2024 in First Fed Bank v. Ideal Property
 6
     Investments, LLC, King County Superior Court Cause No. 24-2-08418-5 SEA.
 7
            8.      Attached as Exhibit F is a true and correct copy of the Order Appointing
 8
     General Receiver, entered on May 3, 2024 in First Fed Bank v. Ideal Property Investments,
 9
     LLC, King County Superior Court Cause No. 24-2-08418-5 SEA.
10
            9.      Attached as Exhibit G is a true and correct copy of the Petition for
11
     Appointment of General Receiver Pursuant to Stipulate[d] Order, filed on May 14, 2024 in
12
     First Fed Bank v. Creative Technologies, LLC, King County Superior Court Cause No. 24-2-
13
     10753-3 SEA.
14
            10.     Attached as Exhibit H is a true and correct copy of the Stipulated Order
15
     Appointing General Receiver, entered on or about May 15, 2024 in First Fed Bank v.
16
     Creative Technologies, LLC, King County Superior Court Cause No. 24-2-10753-3 SEA.
17
            11.     Attached as Exhibit I is a true and correct copy of the Motion for Leave to
18
     Intervene and to Expand Scope of First Federal Bank’s Requested Receivership, filed on
19
     April 25, 2024 in First Fed Bank v. Ideal Property Investments, LLC, King County Superior
20
     Court Cause No. 24-2-08418-5 SEA.
21
            12.     Attached as Exhibit J is a true and correct copy of the Stipulation and Order of
22
     Dismissal Without Prejudice entered on June 13, 2024 in First Fed Bank in First Fed Bank. v.
23
     Deren Flesher, King County Superior Court Cause No. 24-2-06473-7 SEA.
24
25

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                                                                                   Fax (206) 625-0900
 1
            13.     Attached as Exhibit K is a true and correct copy of the First Amended
 2
     Complaint for Damages and Injunctive Relief filed on June 20, 2024 in Pacific Water
 3
     Technology, LLC et al.. v. Ryan R. Wear et al., Snohomish County Superior Court Cause No.
 4
     24-2-02887-31.
 5
            14.     Attached as Exhibit L is a true and correct copy of Plaintiffs’ Requests for
 6
     Production to Defendant First Fed Bank, served on or about July 8, 2024 in Pacific Water
 7
     Technology, LLC et al.. v. Ryan R. Wear et al., Snohomish County Superior Court Cause No.
 8
     24-2-02887-31.
 9
            15.     Attached as Exhibit M is a true and correct copy of Notice of Removal, filed
10
     by First Fed on August 1, 2024 in Pacific Water Technology, LLC et al.. v. Ryan R. Wear et
11
     al., United States District Court Western District, No. 2:24-cv-01164.
12
            16.     Attached as Exhibit N is a true and correct copy of Pacific Parties’ Notice of
13
     Dismissal Without Prejudice as to All Claims Against First Fed Defendants, filed on August
14
     6, 2024 in Pacific Water Technology, LLC et al.. v. Ryan R. Wear et al., United States District
15
     Court Western District, No. 2:24-cv-01164.
16
            17.     Prior to filing the voluntary dismissal referenced in Paragraph 16, I had a brief
17
     call with counsel for First Fed by phone in which I advised that the Pacific Parties were filing
18
     the voluntary dismissal without prejudice in part to facilitate a cooling off period that I
19
     personally hoped would facilitate meaningful settlement discussions. My co-counsel Jay
20
     Kornfeld of Bush Kornfeld had a similar conversation with First Fed’s counsel following the
21
     filing of the Pacific Parties’ notice of dismissal without prejudice.
22
            18.     Attached as Exhibit O is a true and correct copy of the Notice of Bankruptcy
23
     Filing and Stay, filed on August 29, 2024 in Pacific Water Technology, LLC et al. v. Ryan R.
24
     Wear et al., United States District Court Western District, No. 2:24-cv-01164.
25

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                                                                                     Fax (206) 625-0900
 1
             19.    Attached as Exhibit P is a true and correct copy of the Joint Motion to
 2
     Remand, filed on August 30, 2024 in Pacific Water Technology, LLC et al.. v. Ryan R. Wear
 3
     et al., United States District Court Western District, No. 2:24-cv-01164.
 4
             20.    Attached as Exhibit Q is a true and correct copy of the Complaint for
 5
     Declaratory Relief, filed on September 3, 2024 in First Fed Bank v. Pacific Water
 6
     Technology, LLC, Kwansoo Lee, DDS, PPLC, and Kawnsoo Lee., King County Superior
 7
     Court, No. 24-2-19871-7 SEA.
 8
             21.    Upon information and belief, Kwansoo Lee and related entities was served
 9
     with the declaratory judgment action referenced in Paragraph 20 above on or about September
10
     5, 2024.
11
             22.    Attached as Exhibit R is a true and correct copy of Declarations of Service on
12
     First Fed, its parent company, and several of its control people on and about September 6,
13
     2024 in BLC Water Company, LLC et al. v. First Fed Bank et al., King County Superior
14
     Court Cause No. 24-2-20247-1 SEA.
15
             23.    Attached as Exhibit S is a true and correct copy of an email chain between
16
     counsel from September 8, 2024 through September 9, 2024 related to the above-capationed
17
     case.
18
             24.    Attached as Exhibit T is a true and correct copy of Plaintiffs’ First Requests
19
     for Production to First Fed Bank and First Northwest Bancorp, served September 9, 2024 in
20
     BLC Water Company, LLC et al. v. First Fed Bank et al., King County Superior Court Cause
21
     No. 24-2-20247-1 SEA.
22
             25.    Attached as Exhibit U is a true and correct copy of a Subpoena Duces Tecum
23
     issued by the First Fed Borrowers in BLC Water Company, LLC et al. v. First Fed Bank et al.,
24
     King County Superior Court Cause No. 24-2-20247-1 SEA.
25

                                                                                 CORR CRONIN LLP
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                                                                                   Fax (206) 625-0900
 1
            26.     Attached as Exhibit V is a true and correct copy of the Motion to Consolidate
 2
     First Fed Bank Cases filed by the First Fed Borrowers on September 9, 2024 in First Fed
 3
     Bank v. Founders Mosaic Partners, LLC et al., King County Superior Court Cause No. 24-2-
 4
     12567-1 SEA.
 5
            27.     On September 9, 2024, the First Fed Borrowers, through undersigned counsel,
 6
     convened a call with counsel for First Fed.
 7
            28.     Attached as Exhibit W is a true and correct copy of the Complaint for Monies
 8
     Due filed on June 5, 2024 in First Fed Bank v. Founders Mosaic Partners, LLC et al., King
 9
     County Superior Court Cause No. 24-2-12567-1 SEA.
10
            I declare under penalty of perjury under the laws of the state of Washington that the
11
     foregoing is true and correct to the best of my knowledge, information, and belief.
12

13
            DATED: September 10, 2024 at Seattle, Washington.
14

15

16                                                       s/ John T. Bender
                                                         John T. Bender, WSBA No. 49658
17

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                                                                                 CORR CRONIN LLP
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                                                                                   Fax (206) 625-0900
 1
                                   CERTIFICATE OF SERVICE
 2
            I hereby certify that on September 10, 2024, I electronically filed the foregoing
 3
     document with the Clerk of the Court using the CM/ECF system, which will send notification
 4
     of such filing to those attorneys of record registered on the CM/ECF system. All parties (if
 5
     any) shall be served in accordance of the Federal Civil Rules of Procedure.
 6

 7           DATED September 10, 2024, at Seattle, Washington.

 8                                                s/ Paige Plassmeyer
 9                                                Paige Plassmeyer, Legal Assistant
                                                  pplassmeyer@corrcronin.com
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